Case 8:24-cv-01997-JLS-DFM   Document 127-9   Filed 01/08/25   Page 1 of 6 Page
                                 ID #:4915




                      EXHIBIT 9
     Case
     Case8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM     Document
                                    Document127-9
                                             88-10    Filed
                                                      Filed01/08/25
                                                            11/27/24   Page
                                                                       Page21of
                                                                             of65 Page
                                                                                  Page
                                        ID #:4916
                                           #:3003


1     Lenore L. Albert
2     Email: lenalbert@InteractiveCounsel.com
      1968 S Coast Hwy #3960
3     Laguna Beach, CA 92651
4     Telephone (424)365-0741
      Plaintiff, pro per
5
6     James Ocon
7     Email: Jim.Ocon@Oconcompany.com
      10131 Louise Ave.
8     Northridge, CA 91325
9     Telephone: (719) 505-2187
      Plaintiff, pro se
10
11
12
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
13
14    LENORE ALBERT, et al,                     CASE NO. 8:24-cv-01997-WLH (DFMx)
15                            Plaintiff,        PLAINTIFFS' EVIDENTIARY
16    vs.                                       OBJECTIONS IN OPPOSITION TO
17
                                                TYLER TECHNOLOGIES' MOTION
      TYLER TECHNOLOGIES, INC., et al,          TO DISMISS
18                     Defendants.
19                                              Complaint filed: 09-16-2024
                                                First Amended Complaint filed: 11-04-2024
20
21                                              Hearing Date: December 20, 2024
                                                Time: 1:30PM
22
                                                Ctrm: 9B – 9th Flr
23
24
      Ryan McMahon
25    Email: Codethree53@gmail.com
26    7533 English Hills Road
      Vacaville, CA 95687
27
      Telephone: 707-333-3127
28
                                                i
        PLAINTIFFS' EVIDENTIARY OBJECTIONS IN OPPOSITION TO TYLER
                            TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
     Case
     Case8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM      Document
                                     Document127-9
                                              88-10   Filed
                                                      Filed01/08/25
                                                            11/27/24   Page
                                                                       Page32of
                                                                             of65 Page
                                                                                  Page
                                         ID #:4917
                                            #:3004


1     Plaintiff, pro se
2
      Larry Tran
3     Email: larrylytran@gmail.com
4     29559 Fitch Ave.
      Canyon Country, CA 91351
5
      Telephone: 626-217-7836
6     Plaintiff, pro se
7
      Theresa Marasco
8     Email: theresa.marasco@gmail.com
9     PO Box 1035
      Santa Monica, CA 90404
10
      Telephone: 720-226-4051
11    Plaintiff, pro se
12
      Leslie Westmoreland
13    Westmorelandlw7@gmail.com
14    1715 East Alluvial Ave. #214
      Fresno, CA 93720
15
      Telephone: 559-727-1604
16    Plaintiff, pro se
17
18
19
20
21
22
23
24
25
26
27
28
                                               ii
        PLAINTIFFS' EVIDENTIARY OBJECTIONS IN OPPOSITION TO TYLER
                            TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
     Case
     Case8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM       Document
                                      Document127-9
                                               88-10      Filed
                                                          Filed01/08/25
                                                                11/27/24     Page
                                                                             Page43of
                                                                                   of65 Page
                                                                                        Page
                                          ID #:4918
                                             #:3005


1           TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
2     RECORD:
3           COMES NOW PLAINTIFF Lenore Albert and OBJECTS to the following
4     contained in the following documents submitted by Defendant Tyler Technologies, Inc:
5           1. Exhibit 1 to Declaration of Zachary Timm (Doc. 80-4) in its entirety on the
6              grounds it is irrelevant to the motion to dismiss. The document is a docket of
7              an order to show cause sitting before Judge Gee as to reciprocal discipline.
8              The docket is not relevant to determine whether or not the plaintiffs
9              adequately stated a claim against the defendant in the First Amended
10             Complaint and on that ground, it should be stricken. (Fed. R. Evid. Rule 401.).
11             Furthermore, it appears the docket was presented to create a bias against the
12             plaintiff in the trial court’s eyes. It is unduly prejudicial and confuses the
13             issues. Plaintiff Albert’s conduct is not at issue in this case and, as such,
14             should be stricken as unduly prejudicial under Fed. R. Evid. Rule 403.
15          Wherefore, Lenore Albert requests this Court take judicial notice of these
16    adjudicative facts in denying defendant Tyler Technologies’ motion to dismiss.
17
      Dated: November 27, 2024         Respectfully Submitted,
18
                                       /s/ Lenore L. Albert_______
19                                     Lenore L. Albert, plaintiff, pro se
20
21
22
23
24
25
26
27
28
                                                   1
        PLAINTIFFS' EVIDENTIARY OBJECTIONS IN OPPOSITION TO TYLER
                            TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
     Case
     Case8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM       Document
                                      Document127-9
                                               88-10     Filed
                                                         Filed01/08/25
                                                               11/27/24   Page
                                                                          Page54of
                                                                                of65 Page
                                                                                     Page
                                          ID #:4919
                                             #:3006


1                                       PROOF OF SERVICE
2     STATE OF CALIFORNIA, COUNTY OF ORANGE:
3      I declare that I am over the age of 18 years, and a party to the within action using ECF
      to file and serve; that I am employed in Orange County, California; my business
4
      address is 1968 S Coast Hwy #3960, Laguna Beach, CA 92651. On November 27,
5     2024, I served a copy of the following document(s) described as:
6
      PLAINTIFFS' EVIDENTIARY OBJECTIONS IN OPPOSITION TO TYLER
      TECHNOLOGIES' MOTION TO DISMISS
7     On the interested parties in this action as follows:
8     See Electronic Service list
9     [x] BY E-SERVE and EMAIL – I caused such document(s) to be transmitted to the
10    office(s) of the addressee(s) listed above by electronic mail at the e-mail address(es)
      set forth. (Per Covid-19 Order)
11
      [] BY MAIL– I caused such document(s) to be placed in pre-addressed envelope(s)
12    with postage thereon fully prepaid and sealed, to be deposited as regular US Mail at
13    Huntington Beach, California, to the aforementioned addressee(s).
       I declare under penalty of perjury under the laws of the State of California and the
14    United States of America that the foregoing is true and correct.
15
      Dated: November 27, 2024
16
                                                   _/s/Lenore Albert_____________________
17                                                            Lenore Albert
18
19
20
21
22
23
24
25
26
27
28
                                                  2
        PLAINTIFFS' EVIDENTIARY OBJECTIONS IN OPPOSITION TO TYLER
                            TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
     Case
     Case8:24-cv-01997-WLH-DFM
          8:24-cv-01997-JLS-DFM       Document
                                      Document127-9
                                               88-10     Filed
                                                         Filed01/08/25
                                                               11/27/24   Page
                                                                          Page65of
                                                                                of65 Page
                                                                                     Page
                                          ID #:4920
                                             #:3007


1                               ELECTRONIC SERVICE LIST
2     For Defendants State Bar of California, Cindy Chan, Benson Hom, Suzanne
3     Grandt, George Cardona, Ruben Duran, Steve Mazer, Leah Wilson
      KEVIN GILBERT, ESQ.
4
      kgilbert@ohhlegal.com
5     Orbach Huff + Henderson LLP
6
      Pleasanton
      6200 Stoneridge Mall Road, Suite 225
7     Pleasanton, California 94588 (510) 350-3582 Direct
8
      SUZANNE C. GRANDT (304794)
9     Email: suzanne.grandt@calbar.ca.gov
10    THE STATE BAR OF CALIFORNIA
      180 Howard Street
11
      San Francisco, CA 94105-1639 Telephone: 415-538-2388; Facsimile: 415-538-2517
12
13    For Defendant Rick Rankin
      JEFFER MANGELS BUTLER & MITCHELL LLP
14    MICHAEL A. GOLD (Bar No. 90667)
15    mgold@jmbm.com
      JUSTIN ANDERSON (Bar No. 328969)
16
      Janderson@jmbm.com
17    1900 Avenue of the Stars, 7th Floor
18    Los Angeles, California 90067-4308 Telephone: (310) 203-8080

19    For Defendant Tyler Technologies, Inc.
20    Beth Petronia beth.petronio@klgates.com
      Zachary T. Timm (SBN 316564) zach.timm@klgates.com
21
      K&L GATES LLP
22    10100 Santa Monica Boulevard Seventh Floor
23
      Los Angeles, California 90067 Telephone: 310.552.5000
      Co-plaintiffs by email by consent – as listed on the caption.
24
      George Cardona to be served; serviceofprocess@calbar.ca.gov
25
      and Chief Justice Patricia Guerrero to be served with summons and complaint.
26
27
28
                                                  3
        PLAINTIFFS' EVIDENTIARY OBJECTIONS IN OPPOSITION TO TYLER
                            TECHNOLOGIES' MOTION TO DISMISS
       Albert, et al. v Tyler Technologies, Inc., et al. Case No. 8:24-cv-01997-WLH (DFMx)
